

Matter of Rosten (2023 NY Slip Op 03535)





Matter of Rosten


2023 NY Slip Op 03535


Decided on June 29, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 29, 2023

PM-134-23
[*1]In the Matter of Samuel Charles Rosten, an Attorney. (Attorney Registration No. 5740881.)

Calendar Date:June 26, 2023

Before:Egan Jr., J.P., Lynch, Clark, Ceresia and Fisher, JJ.

Samuel Charles Rosten, Las Cruces, New Mexico, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Samuel Charles Rosten was admitted to practice by this Court in 2019 and lists a business address in Las Cruces, New Mexico with the Office of Court Administration. Rosten now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Rosten's application.
Upon reading Rosten's affidavit sworn to April 29, 2023 and filed May 3, 2023, and upon reading the June 21, 2023 correspondence in response by the Chief Attorney for AGC, and having determined that Rosten is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Lynch, Clark, Ceresia and Fisher, JJ., concur.
ORDERED that Samuel Charles Rosten's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Samuel Charles Rosten's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Samuel Charles Rosten is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Rosten is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Samuel Charles Rosten shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








